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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ROSLYN BROWN, et al.,                              )
                                                   )
               Plaintiffs,                         )
                                                   )
       v.                                          )      Case No. 4:17-cv-1542-ERW
                                                   )
CITY OF PINE LAWN, MISSOURI, et al.,               )
                                                   )
               Defendants.                         )

                                  NOTICE OF SETTLEMENT

       PLEASE be advised that a settlement has been reached in the above-styled case between

Plaintiffs and all Defendants. In the next thirty days, as the agreement is being finalized,

Plaintiff Roslyn Brown in her role as Next Friend for Plaintiff R.Z., will submit a Motion for

Proposed Settlement to the Court. After the Court has approved any settlement, Ms. Brown,

acting for herself and in her role as Next Friend for R.Z., will dismiss all defendants in this case.



Dated: March 27, 2019                          Respectfully submitted,

                                               ARCHCITY DEFENDERS

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